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AO 245B        (Rev. 09111) Judgment in a Criminal Case
               Sheet I



                                           UNITED STATES DISTRICT COURT
                                                             District of Massachusetts
                                                                          )
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                     )
                  MICHAEL E. MCLAUGHLIN                                   )
                                                                          )       Case Number: 13-CR-10308-DPW-2
                                                                          )       USM Number: 94973-038
                                                                          )
                                                                          )        Liam D. Scully
                                                                                  Defendant's Attomey
THE DEFENDANT:
ij(pleaded guilty to count(s)           1 of the Indictment on 5/12/14

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through           4 _ _ of this judgment. The sentence is imposed pursuant to
                                                                          __
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                        o is            o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           6/20/2014



                                                                          D'Z;~:7?!kaIL
                                                                          Signature of Judge




                                                                           Douglas P. Wood,_lo~c,-k                     Judqe.U.S. District Court
                                                                          Name and Title of Judge


                                                                              ~~ ZO) 2f;)f
                                                                         ~
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AO 245B     (Rev. 0911 I) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                        Judgment- Page   2    of   4
DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    12 months to be served consecutive to sentence serving in case no. 13-cr-10023-DPW.




     o The court makes the following recommendations to the Bureau of Prisons:



     ill' The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at - - - - - - - - - - o a.m. o p.m. on
          o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to     ----_.-._._---­


a                                                     , with a certified copy of this judgment.



                                                                                                     UNITED ST ATES MARSHAL



                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                  Judgment- Page          3   of        4
DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                     Fine                                    Restitution
TOTALS             $ 100.00                                       $ 3,000.00                            $


o The determination of restitution is deferred until _ _ _ . An Amended Judgment in a Criminal Case (AO 245Cj will be entered
     after such determination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee




TOTALS                                                     0.00         $                        0.00
                                     $-----­


o Restitution amount ordered pursuant to plea agreement $
'it The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the 0 fine 0 restitution.
      o the interest requirement for the 0 fine 0 restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 11OA,and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 2458
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          (Rev. 09/11) Judgment in a Criminal Case
          Sheet 6 - Schedule of Payments

                                                                                                               Judgment -   Page     4      of          4
DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    D Lump sum payment of $                                   due immediately, balance due

          D     not later than                                      , or
          D     in accordance           D C,         D D,      D      E, or    D F below; or
B    riI Payment to begin immediately (may be combined with                   DC,        D D, or       rilF below); or
C    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

F    riI Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay the special assessment of $100.00, and Fine of $3000.00, immediately or they shall be
           made according to the requirements of the Federal Bureau of Prisons' Inmate Financial Responsibility Program
           while the defendant is incarcerated and according to a court-ordered repayment schedule established by the Court
           in consultation with the probation officer, during the term of supervised release.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    loint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restrtution, (7) penalties, and (8) costs, mcludmg cost of prosecution and court costs.
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          (Rev. 09/11) Judgment in a Criminal Case
          Attachment (Page I) - Statement of Reasons


DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2
DISTRICT:    District of Massachusetts
                                                           STATEMENT OF REASONS

I     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A   D      The court adopts the presentence investigation report without change.

      B   i      The court adopts the presentence investigation report with the following changes.
                 (Check all that apply and specify court determination. findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)
                 (Use page 4 ifnecessary.)

                 D    Chapter Two of the V.S.S.G. Manual determinations by court (including changes to base offense level, or
                      specific offense characteristics):



          2      Ii1' Chapter Three of the V.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                      role in the offense, obstruction ofjustice, multiple counts, or acceptance of responsibility):
                       The Court includes a 3-level increase for aggravating role as manager or supervisor (U.SS.G. § 381.1
                       (a)).
          3      D    Chapter Four of the V.S.S.G. Manual determinations by court (including changes to criminal history category or
                      scores, career offender, or criminal livelihood determinations):



          4      D    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                      presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                      or programming decisions):




      C   D      The record establishes no need for a presentence investigation report pursuant to Fed.RiCrim.P, 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply)

      A ~        No count of conviction carries a mandatory minimum sentence.


      B   D      Mandatory minimum sentence imposed.


      c D        One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                 sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                 does not apply based on

                 D    findings of fact in this case

                 o substantial assistance (18 U.S.c. § 3553(e»
                 o the statutory safety valve (18 U.S.c. § 3553(f»

III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):


                                               II


                           --'"'-='----- _ _   to

      Pi Fine waived or below the guideline range because of inability to pay.
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AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Attachment (Page 2) - Statement of Reasons


DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2
DISTRICT:    District of Massachusetts
                                                              STATEMENT OF REASONS

IV    ADVISORY GUIDELINE SENTENCING DETERMINAnON (Check only one.)

      A 0               The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart.

      B      D          The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                        (Use page 4 if necessary.)



      c D               The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                        (Also complete Section V)

      D ~               The court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)


V     DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (Ifapplicable.)
      A      The sentence imposed departs (Check only one.):
             D below the advisory guideline range
             D above the advisory guideline range

      B      Departure based on (Check all that apply.):
                             Plea Agreement (Check all that apply and check reason(s) below.):
                             D    SKI.I plea agreement based on the defendant's substantial assistance
                             D    SK3.1 plea agreement based on Early Disposition or "Fast-track" Program
                             D    binding plea agreement for departure accepted by the court
                             D    plea agreement for departure, which the court finds to be reasonable
                             D    plea agreement that states that the government will not oppose a defense departure motion.

             2               Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                             D SKI.I government motion based on the defendant's substantial assistance
                             D SK3.1 government motion based on Early Disposition or "Fast-track" program
                             o   government motion for departure
                             D defense motion for departure to which the government did not object
                             D defense motion for departure to which the government objected
             3               Other
                             D Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):
      C          Reason(s) for Departure (Check all that apply other than 5Kl. J or 5K3. J.)

[]   4AU          Criminal History Inadequacy                D     5K2.l    Death                                   D     5K2.11     Lesser Harm
     5H1.l        Age                                        []    5K2.2    Physical Injury                         0     5K2.12     Coercion and Duress
0
                  Education and Vocational Skills            0     5K2.3    Extreme Psychological Injury            D     5K2.13     Diminished Capacity
D    5HU
                  Mental and Emotional Condition             D     5K2A     Abduction or Unlawful Restraint         D     5K2.14     Public Welfare
D    5HU
     5HIA         Physical Condition                         0     5K2.5    Property Damage or Loss                 0     5K2.l6     Voluntary Disclosure of Offense
D
                  Employment Record                          0     5K26     Weapon or Dangerous Weapon              0     5K2.l7     High-Capacity. Semiautomatic Weapon
D    5Hl.5
     5HI6         Family Ties and Responsibilities           0     5K2.7    Disruption of Government Function       0     5K2.18     Violent Street Gang
0
                                                                            Extreme Conduct                         0     5K2.20     Aberrant Behavior
D    5HIIl        Military Record. Charitable Service,       D     5KU
                  Good Works                                                Criminal Purpose                        0     5K2.2l     Dismissed and Uncharged Conduct
                                                             D     5K2.9
                                                                   5K2.1O Victim's Conduct                          0     5K2.22     Age or Health of Sex Offenders
D    5K2.0        Aggravating or Mitigating Circumstances    0
                                                                                                                    D     5K2.23     Discharged Terms of Imprisonment

                                                                                                                     0    Other guideline basis (e.g., 2B 1.1 commentary)


      D          Explain the facts justifying the departure. (Use page 4 if necessary.)
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           (Rev. 09/11) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2
DISTRICT:    District of Massachusetts
                                                           STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           rit
             below the advisory guideline range
           o above the advisory guideline range
     B     Sentence imposed pursuant to (Check all that apply.):
                        Plea Agreement (Check all that apply and check reason(s) below.};
                        Iilf    binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                        o       plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                        o       plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                                system

           2            Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                        o       government motion for a sentence outside of the advisory guideline system
                        o       defense motion for a sentence outside of the advisory guideline system to which the government did not object
                        o       defense motion for a sentence outside of the advisory guideline system to which the government objected

           3            Other
                        ilf Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.):
     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           rit the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.c. § 3553(a)(I)
           rit to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.c. § 3553(a)(2)(A»
           o to afford adequate deterrence to criminal conduct (18 U.s.c. § 3553(a)(2)(B»
           o 10 protect the public from further crimes of the defendant (18 U.S.c. § 3553(a)(2)(C»
           o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
                 (18 U.S.c. § 3553(a)(2)(D»
           o to avoid unwarranted sentencing disparities among defendants (18 U.s.c. § 3553(a)(6»
           o to provide restitution to any victims of the offense (18 U.s.c. § 3553(a)(7»
     D     Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
            The sentence fairly integrates the sentence in two separate indictments arising from a common nucleus of fact
            by paralleling a grouping analysis.
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A0245B      (Rev. 09/11) Judgment in a Criminal Case
            Attachment (Page 4) - Statement of Reasons


DEFENDANT: MICHAEL E. MCLAUGHLIN
CASE NUMBER: 13-CR-10308-DPW-2
DISTRICT:    District of Massachusetts
                                                           STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A   v1      Restitution Not Applicable.

      B     Total Amount of Restitution:

      C     Restitution not ordered (Check only one.):

                  o For offenses for which restitution is otherwise mandatory under 18 u.s.C. § 3663A, restitution is not ordered because the number of
                        identifiable victims is so large as to make restitution impracticable under 18 U.s.C § 3663A(c)(3)(A).

            2     0     For offenses for which restitution is otherwise mandatory under 18 U.S.C § 3663A, restitution is not ordered because determining complex
                        issues offact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                        that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C § 3663A(c)(3)(B).

                  o For other offenses for which restitution is authorized under 18 U.S.C § 3663 and/or required by the sentencing guidelines, restitution is not
                        ordered because the complication and prolongation ofthe sentencing process resulting from the fashioning of a restitution order outweigh
                        the need to provide restitution to any victims under 18 U.S.C § 3663(a)( J)(B)(ii).

          4       [J    Restitution is not ordered for other reasons. (Explain.)




      D     0     Partial restitution is ordered for these reasons (/8 u.s.c. § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (Ifapplicable.)




                      Sections I, II, 11\, IV, and VB of the Statement of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:

Defendant's Date of Birth:

Defendant's Residence Address:
 Unknown.                                                                                                                                    U.S.D.J.
Defendant's Mailing Address:
 Unknown.
